



 





THIS OPINION HAS NO
  PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY
  PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

	
		
			
				Sara Mae
      Robinson, Mary Ann Campbell, James Scott, Ellis Scott, William Scott, Shirley
      Pinckney Hughes, Julius Steven Brown, Leon Brown, Annabell Brown, Loretta
      Ladson, Kathleen Brown, Mozelle B. Rembert, Patricia Frickling, Ruth
      Mitchell, Gwendolyn Dunn, Angela Hamilton, Geraldine Jameson, Remus Prioleau,
      Julius Prioleau, Anthony Prioleau, Judy Brown, Franklin Brown, Kathy Young,
      Kenneth Prioleau, Willis Jameson, Melvin Pinckney, William
      "Alonzie" Pinckney, Ruth Fussell, Hattie Wilson, Marie Watson,
      Gloria Becoat, Angela T. Burnett, and Lawrence Redmond, Appellants,
				v.
				The Estate of
      Eloise Pinckney Harris, Jerome C. Harris, as Personal Representative and sole
      heir and devisee of the Estate of Eloise P. Harris, Daniel Duggan, Mark F.
      Teseniar, Nan M. Teseniar, David Savage, Lisa M. Shogry-Savage, Debbie S.
      Dinovo, Martine A. Hutton, The Converse Company, LLC, Judy Pinckney
      Singleton, Mary Leavy, Michelle Davis, Leroy Brisbane, Frances Brisbane, and
      John Doe, Jane Doe, Richard Roe and Mary Roe, who are fictitious names
      representing all unknown persons and the heirs at law or devisees of the
      following deceased persons know as Simeon B. Pinckney, Isabella Pinckney,
      Alex Pinckney, Mary Pinckney, Samuel James Pinckney, Rebecca Riley Pinckney,
      James H. Pinckney, William Brown, Sara Pinckney, Julia H. Pinckney, Laura
      Riley Pinckney Heyward, Herbert Pinckney, Ellis Pinckney, Jannie Gathers,
      Robert Seabrook, Annie Haley Pinckney, Lillian Pinckney Seabrook, Simeon B.
      Pinckney, Jr., Matthew G. Pinckney, Mary Riley, John Riley, Richard Riley,
      Daniel McLeod, and all other persons unknown claiming any right, title,
      estate, interest or lien upon the real estate tracts described in the
      Complaint herein, Defendants,
				of whom Debbie
          S. Dinovo is Respondent.
			
		
	


Appeal From Charleston County
&nbsp;R. Markley Dennis, Jr., Circuit Court
  Judge
Unpublished Opinion No. 2008-UP-647
Submitted November 1, 2008  Filed
  November 24, 2008
AFFIRMED


	
		
			
				Walter&nbsp; Bilbro, Jr., of Charleston, for
  Appellants
				George J. Morris, James M. Wilson and Thomas P. Guerard, all of
  Charleston, for Respondent.
				Charles M. Feeley, of Summerville, for
  Guardian Ad Litem
			
		
	

PER CURIAM: Appellants
  appeal the trial courts grant of summary judgment in favor of Respondent,
  denying the setting aside of a 1966 quiet title action.&nbsp; We affirm[1] pursuant to Rule 220(b), SCACR, and the following authorities:&nbsp; §15-67-90 S.C.
  Code Ann. (imposing a three year statute of limitations on an action to set
  aside a judgment quieting title for any reason); Yarbrough
    v. Collins, 301 S.C. 339, 341, 391 S.E.2d
  873, 875 (Ct. App. 1990) (denying the setting aside of a judgment quieting
  title because section 15-67-90 imposes a three year statute of limitations); Robinson
    v. Estate of Harris, 378 S.C. 140, 662 S.E.2d 420 (Ct. App. 2008) (one who
  can demonstrate; (1) actual payment of the purchase price has been made; (2)
  acquisition of legal title; and (3) the purchase was bona fide, in the sense
  that it was made in good faith and without notice of any lien or defect; is
  protected as a bona fide purchaser);&nbsp; Burnett v. Holiday Brothers Inc.,
  279 S.C. 222, 225, 305 S.E.2d 238, 240 (1983) (the purpose of the recording
  statute is to protect subsequent purchasers, for value without notice).
AFFIRMED.
ANDERSON, HUFF, and THOMAS, JJ., concur.



[1] We decide this case without oral argument pursuant to
  Rule 215, SCACR.

